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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                     JACKSONVILLE DIVISION

  MICHAEL MASSE,

       Plaintiff,

  v.                                                         CASE NO.: 3:16-cv-01137-BJD-PDB

  MEDICAL SERVICES OF CHATTANOOGA
  INC. d/b/a PATIENT FINANCIAL
  SERVICES, INC. and FLORIDA HOSPITAL
  HEALTHCARE SYSTEM, INC.,

       Defendant.
                                             /

                                  NOTICE OF SETTLEMENT

           Plaintiff,   Michael   Masse,         by    and   through      his   undersigned   counsel,

  hereby notifies       the   Court   that       the   parties,    Plaintiff,   Michael   Masse,   and

  Defendant, Florida Hospital Healthcare System, Inc., have reached a settlement and are

  presently drafting, finalizing, and formalizing such. Upon execution of the same and

  certain terms of the agreement, the parties will file the appropriate dismissal documents

  to dismiss this matter with prejudice.

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                             CERTIFICATE OF SERVICE:

         I HEREBY CERTIFY on this 1st day of November 2017, I electronically filed the

  foregoing document with the United States District Court, Middle District of Florida,

  Jacksonville Division by using the CM/ECF system. I certify the following parties or

  their counsel of record are registered as ECF Filers and that they will be served by the

  CM/ECF system:

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